       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 1 of 12




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

JONATHAN CORBIN, and                          )
KATHLEEN CORBIN, on behalf                    )
of themselves and all others similarly        )
situated                                      )       Case No: 2:19-cv-02157
                                              )
                        Plaintiffs,           )
                                              )
        v.                                    )
                                              )       JURY DEMAND
MEDICREDIT, INC.,                             )
                                              )
                        Defendant.            )

                                COMPLAINT – CLASS ACTION

        NOW COME the Plaintiffs, JONATHAN CORBIN and KATHLEEN CORBIN, by and

through their attorneys, SMITHMARCO, P.C., suing on behalf of themselves and all others

similarly situated and for their complaint against the Defendant, MEDICREDIT, INC., the

Plaintiffs state as follows:

                                 I.     PRELIMINARY STATEMENT

        1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq. and the Electronic Funds

Transfer Act (hereinafter, “EFTA”), 15 U.S.C. §1693, et seq.

                                  II.    JURISDICTION & VENUE

        2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., the EFTA, 15 U.S.C.

§1693 et seq., and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

        3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).




                                           Page 1 of 12
       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 2 of 12




                                         III.    PARTIES

       4.      JONATHAN CORBIN, (hereinafter, “Jonathan”) is an individual who was at all

relevant times residing in the City of Overland Park, County of Johnson, State of Kansas.

       5.       KATHLEEN CORBIN, (hereinafter, “Kathleen”) is an individual who was at all

relevant times residing in the City of Overland, County of Johnson, State of Kansas.

       6.      The debt that Jonathan and/or Kathleen was allegedly obligated to pay was a debt

allegedly originally owed by Jonathan and/or Kathleen to Menorah Medical Center (hereinafter,

“the Debt”).

       7.      The debt that Jonathan and/or Kathleen allegedly owed Menorah Medical Center

was for medical services provided to Kathleen.

       8.      At all relevant times, Plaintiffs were “consumers” as that term is defined by 15

U.S.C. §1692a(3).

       9.      At all relevant times, Plaintiffs had an account in their name at CAPITOL

FEDERAL SAVINGS BANK (hereinafter, the “CapFed Account”).

       10.     At all relevant times, the account held by Plaintiff at CapFed was an asset account

established to hold funds used primarily for Plaintiffs’ personal use and/or household expenditures.

       11.     At all relevant times, the CapFed Account held by Plaintiffs was an “account” as

that term is defined by 15 U.S.C. §1693a(2).

       12.     At all relevant times CapFed was a financial organization responsible for holding

funds in an account belonging to Plaintiffs.

       13.     At all relevant times, CapFed was a “financial institution” as that term is defined

by 15 U.S.C. §1693a(9).




                                           Page 2 of 12
       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 3 of 12




           14.   MEDICREDIT, INC., (hereinafter, “Defendant”) is a business entity engaged in

the collection of debt within the State of Kansas. Defendant’s principal place of business is located

in the State of Tennessee. Defendant is incorporated in the State of Kansas.

           15.   The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           16.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           17.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           18.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

           19.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

                                  IV.     GENERAL ALLEGATIONS

           20.   Prior to November of 2018, Kathleen visited Menorah Medical Center in Overland

Park, Kansas.

           21.   Plaintiffs were never billed or contacted by Menorah Medical Center regarding the

aforementioned hospital visit, apparently due to the fact that Menorah Medical Center did not have

proper contact information for Plaintiffs.




                                             Page 3 of 12
        Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 4 of 12




        22.    In or around November of 2018, Menorah Medical Center referred the Debt to

Defendant for collection from Plaintiffs and Defendant then contacted Plaintiffs regarding the

Debt.

        23.    Plaintiffs and Defendant agreed to settle the entire balance of the Debt for a one-

time payment by Plaintiffs of $318.79.

        24.    On or about November 25, 2018, as agreed, Plaintiffs drafted, signed, and mailed

Defendant a check for $318.79. The check was numbered 3039 and referenced account number

ending 2997 in the memo line.

        25.    On or about November 29, 2018, Defendant received Plaintiffs’ check number 3039

for $318.79.

        26.    Also, on or about November 29, 2018, Defendant used the information contained

on Plaintiffs’ check to prepare a second, electronic check from Plaintiffs’ CapFed Account. This

electronic check contained the same account number, routing number, and check number as the

check that Plaintiffs mailed to Defendant, but the payment amount was listed as $832.80. The

electronic check contained an electronic signature that reads “Menorah Medical Center.” Under

the signature line stated “by MENORAH MEDICAL CENTER as authorized signature for JOHN

AND KADIE CORBIN.”

        27.    Neither of the Plaintiffs had ever authorized Menorah Medical Center to sign any

checks on their behalf.

        28.    At some time between November 29, 2018 and December 3, 2018, Defendant

presented the check for $318.79 to its bank and the same amount was withdrawn from Plaintiffs’

CapFed Account.




                                          Page 4 of 12
       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 5 of 12




       29.     At some time between November 29, 2018 and December 3, 2018, Defendant,

using the electronic check that it had created, also withdrew $832.80 from Plaintiffs’ CapFed

Account.

       30.     The transfer of $832.80 from Plaintiffs’ CapFed Account that was initiated by

Defendant on or about November 29, 2018, was initiated through an electronic terminal, telephonic

instrument, or computer or magnetic tape.

       31.     The transfer of $832.80 from Plaintiffs’ CapFed Account that was initiated by

Defendant on or about November 29, 2018, was an “electronic fund transfer” as that term is defined

by 15 U.S.C. §1693a(7).

       32.     On or about December 3, 2018, the balance in Plaintiffs’ checking account from

which both checks were drawn was $697.06.

       33.     On or about December 3, 2018, both of the aforementioned checks – the one sent

to Defendant by Plaintiffs and the one created by Defendant on its own – were drawn against

Plaintiffs’ bank account. Additionally, a third check in the amount of $80.00, but unrelated to

Defendant, was drawn against Plaintiffs’ bank account.

       34.     Because Plaintiffs’ checking account only had sufficient funds to cover the two

checks that Plaintiffs had authorized, but not the electronic check created by Defendant, Plaintiffs’

bank account became overdrawn and Plaintiffs were assessed a fee of $8.00 to transfer funds from

another account.

       35.     Moreover, Plaintiffs were subsequently assessed to insufficient funds (or NSF) fees

of $32.00 each because two checks had been drawn on the account while it had a negative balance.




                                            Page 5 of 12
       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 6 of 12




                                     V.      CLASS ALLEGATIONS

       36.        Plaintiffs bring this action individually and on behalf of multiple classes of

individuals pursuant to Rule 23 of the Federal Rules of Civil Procedure.

       37.        The aforementioned classes of individuals (collectively referred to as the “Classes”)

are defined as:

                  a. all persons from whom Defendant collected funds in excess of the
                     amount such persons authorized Defendant to collect during the
                     applicable statute of limitations. (hereinafter sometimes referred to as
                     the “FDCPA Class”).

                  b. All persons from whom Defendant collected funds via an electronic
                     fund transfer from an “account” as defined by 15 U.S.C.§1693a(2)
                     without first obtaining authorization from the person to perform said
                     transfer and without notifying such person that such transfer would or
                     may be processed as an electronic fund transfer. (hereinafter sometimes
                     referred to as the “EFTA Class”).

       38.        The Classes are so numerous that joinder of all members is impractical. Upon

information and belief, Defendant has collected funds in excess of amounts authorized by

consumers and has performed electronic funds transfers from myriad consumer “accounts” as that

term is defined by 15 U.S.C.§1693a(2) without first obtaining authorization from the person to

perform said transfer and without notifying such person that such transfer would or may be

processed as an electronic fund transfer. Given the aforementioned conduct across the potential

class, there exists a presumption of numerosity.

       39.        Questions of law and fact common to the Classes predominate over any questions

affecting only individual Class members. The principal questions at issue are:

                  a. Whether Defendant collected funds from consumers in excess of amounts

                     authorized by such consumers, and




                                              Page 6 of 12
       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 7 of 12




               b. Whether Defendant violated the EFTA by performing electronic fund transfers

                   without first obtaining authorization from the person to perform said transfer

                   and without notifying such person that such transfer would or may be processed

                   as an electronic fund transfer.

       40.     Plaintiffs’ claims are typical of the claims for the Classes, which arise from the

same operative facts and are predicated on the same legal theories.

       41.     There are no individual questions of fact, other than whether a Class member did

not authorize Defendant to perform an electronic funds transfer in the amount actually taken by

Defendant and whether a Class member was provided with notice that a transfer would or may be

treated as an electronic fund transfer, which can be determined by a ministerial inspection of

Defendant’s records.

       42.     Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs

are committed to vigorously prosecuting this matter and have retained counsel experienced in

handling class actions and claims involving unlawful business practices. Neither Plaintiffs nor

counsel for Plaintiffs have any interests that might cause them to not vigorously pursue this claim.

       43.     This action should be maintained as a class action as the prosecution of separate

actions by individual members of the Classes would create a substantial risk of inconsistent or

varying adjudications with respect to individual Class members. Such a result would establish

incompatible standards of conduct for the parties opposing the Classes.            Furthermore, the

prosecution of separate actions could result in adjudications of individual members’ claims that

could be dispositive of the interests of other members not parties to the adjudications or could

substantially impair and/or impede the ability of such individuals to protect their interests.




                                            Page 7 of 12
       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 8 of 12




       44.     A class action is a superior method for the fair and efficient adjudication of this

controversy. The interest of Class members in individually controlling the prosecution of separate

claims against Defendant is small as the maximum statutory damages in an individual action under

both the FDCPA and EFTA are $1,000. Management of the Class claims is likely to present

significantly fewer difficulties than those presented in many class claims. The identities of

individual Class members may be easily obtained from Defendant’s records.

       45.     As a result of the above violations of the FDCPA and EFTA, Defendant is liable to

Plaintiffs and Class members for statutory damages, attorneys’ fees and costs.

                          COUNT I: VIOLATIONS OF THE FDCPA

       46.     Plaintiffs re-allege and incorporate by reference each of the preceding paragraphs

in this complaint as though fully set forth herein.

       47.     By creating an electronic check using the information from Plaintiffs’ actual check

without Plaintiff’s knowledge, consent, or permission, and then withdrawing both amounts from

Plaintiffs’ CapFed Account, Defendant collected funds from Plaintiffs without having any lawful

authority to do so.

       48.     In its attempts to collect the debt allegedly owed by Plaintiffs to Menorah Medical

Center, Defendant violated the FDCPA, 15 U.S.C. §1692, in one or more of the following ways:

               a. Used unfair and/or unconscionable means to collect or attempt to collect a debt
                  in violation of 15 U.S.C. §1692f;

               b. Collected funds from Plaintiffs despite having no lawful authority to do so in
                  violation of 15 U.S.C. §1692f(1);

               c. Was otherwise deceptive and failed to comply with the provisions of the
                  FDCPA.

       49.     As a result of Defendant’s violations as aforesaid, Plaintiffs have suffered, and

continue to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                            Page 8 of 12
       Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 9 of 12




       50.     As a result of the above violations of the FDCPA, Defendant is liable to Plaintiffs

and FDCPA Class members for statutory damages, attorneys’ fees and costs.

                 COUNT II: VIOLATIONS OF THE EFTA AND REGULATION E

       51.     Plaintiffs re-allege and incorporate by reference each of the preceding paragraphs

in this complaint as though fully set forth herein.

       52.     The EFTA, and Regulation E promulgated thereunder, prohibit the initiation of

electronic funds transfers without first obtaining the account holder’s authorization. 15 U.S.C.

§1693b(a)(; 12 C.F.R. §205.3.

       53.     Defendant violated the EFTA and Regulation E by initiating or causing to be

initiated an electronic funds transfer in the amount of $832.80 without first obtaining either

Plaintiff’s authorization.

       54.     Section 1693b(a) of the EFTA authorizes the Federal Reserve Board of Governors

(the “Board”) to prescribe regulations to carry out the purpose and provisions of the statute, which

the board has done by promulgating Regulation E, 12 C.F.R. §205.

       55.     Regulation E provides, in relevant part, as follows:

       §205.3 Coverage:

       (b) Electronic fund transfer –
       ...
           (2) Electronic fund transfer using information from a check.

               (i) This part applies where a check, draft, or similar paper instrument is used as a
               source of information to initiate a one-time electronic fund transfer from a
               consumer's account. The consumer must authorize the transfer.

               (ii) The person initiating an electronic fund transfer using the consumer's check as
               a source of information for the transfer must provide a notice that the transaction
               will or may be processed as an EFT, and obtain a consumer's authorization
               for each transfer. A consumer authorizes a one-time electronic fund transfer (in
               providing a check to a merchant or other payee for the MICR encoding, that is, the
               routing number of the financial institution, the consumer's account number and the

                                            Page 9 of 12
      Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 10 of 12




               serial number) when the consumer receives notice and goes forward with the
               underlying transaction. For point-of-sale transfers, the notice must be posted in a
               prominent and conspicuous location, and a copy thereof, or a substantially similar
               notice, must be provided to the consumer at the time of the transaction.

       56.     Defendant’s initiation of an electronic transfer in the amount of $832.80 was neither

authorized nor permitted by 12 C.F.R. §205.3 or 15 U.S.C. §1693b(a).

       57.     Defendant violated the EFTA and Regulation E because it initiated or caused to be

initiated an electronic funds transfer in the amount of $832.80 from Plaintiffs’ CapFed Account

without first obtaining Plaintiffs’ authorization to do so.

       58.     Neither Jonathan nor Kathleen never received any notice that he would be charged

$832.80, or that such payment would or may be processed as an electronic fund transfer.

       59.     Neither Jonathan nor Kathleen have provided Defendant with any authorization,

orally or in writing, to transfer $832.80 from Plaintiffs’ CapFed Account to Defendant.

       60.     Defendant has not obtained any authorization, either orally or in writing, from

either Jonathan or Kathleen to transfer $832.80 from Plaintiff’s CapFed Account to Defendant.

       61.     Defendant has not provided either Jonathan or Kathleen with any form of notice

that a payment of $832.80 will or may be processed as an electronic fund transfer.

       62.     Neither Jonathan nor Kathleen have informed Defendant that he or she waived his

or her right to provide Defendant with written authorization to execute the transfer of funds from

Plaintiff’s CapFed Account to Defendant.

       63.     Defendant’s conduct in violating the EFTA and Regulation E directly and

proximately caused Plaintiffs to suffer damages as set forth in the paragraphs above.

       64.     Accordingly, Defendant violated the EFTA and Regulation E and is liable to both

Plaintiffs and EFTA Class Members pursuant to section 15 U.S.C §1693m for their actual

damages, plus statutory liquidated damages and attorneys’ fees and costs.

                                            Page 10 of 12
      Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 11 of 12




                                       VI.     JURY DEMAND

       65.     Plaintiffs hereby demand a trial by jury on all issues so triable.

       66.     The Plaintiffs, by and through their attorneys, SmithMarco, P.C., hereby

respectfully requests that the trial of this matter proceed in Kansas City.

                                   VII.      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on their own behalf and on behalf of the members of the Classes,

pray for judgment against Defendant as follows:

               a. Certification of the proposed Classes;

               b. Appointment of Plaintiffs as representatives;

               c. Appointment of the undersigned counsel as counsel for the Classes;

               d. A declaration that Defendant and/or its affiliates, agents, and/or other related
                  entities’ actions complained of herein violated the FDCPA and EFTA;

               e. An order enjoining Defendant and/or its affiliates, agents, and/or other related
                  entities, as provided by law, from engaging in the unlawful conduct set forth
                  herein;

               f. An award to Plaintiffs and the Classes of damages, as allowed by law;

               g. An award to Plaintiffs and the Classes of attorneys’ fees and costs, as allowed
                  by law and/or equity;

               h. Leave to amend this Complaint to conform to the evidence presented at trial;
                  and

               i. Orders granting such other and further relief as the Court deems necessary, just,
                  and proper.

                                                       Respectfully submitted,

                                                        SMITHMARCO, P.C.

   Dated: March 26, 2019                                By:    s/ Mandy M. Shell
                                                        Mandy M. Shell, KS Bar # 23410
                                                        1656 Washington St., Ste. 120
                                                        Kansas City, Missouri 64108
                                                        Telephone: (913) 879-1001

                                             Page 11 of 12
Case 2:19-cv-02157-CM-GEB Document 1 Filed 03/26/19 Page 12 of 12




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                           Page 12 of 12
